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 1                           IN THE UNITED STATES DISTRICT COURT
                             FOR THE NORTHERN DISTRICT OF TEXAS
 2

 3   AKEEMA LADD,                                   §
                                                    §
 4                  Plaintiff,                      §     Civil Action No.
 5                                                  §
                    v.                              §
 6                                                  §     Jury Trial Demanded
     MEDICREDIT, INC.,                              §
 7
                                                    §
 8                  Defendant.                      §
                                                    §
 9

10
                                                COMPLAINT
11
            AKEEMA LADD (“Plaintiff”), by her attorneys, KIMMEL & SILVERMAN, P.C.,
12

13
     allege the following against MEDICREDIT, INC. (“Defendant”):

14
                                             INTRODUCTION
15
            1.      Plaintiff’s Complaint is based on the Fair Debt Collection Practices Act, 15
16
     U.S.C. § 1692 et seq. (“FDCPA”).
17

18
                                      JURISDICTION AND VENUE

19          2.      Jurisdiction of this court arises pursuant to 15 U.S.C. § 1692k(d), which states

20   that such actions may be brought and heard before “any appropriate United States district court

21   without regard to the amount in controversy;” 28 U.S.C. § 1331 grants this court original

22   jurisdiction of all civil actions arising under the laws of the United States..
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            3.      Venue is proper pursuant to 28 U.S.C. § 1391 (b)(2).
24
                                                  PARTIES
25
            4.      Plaintiff is a natural person residing in Dallas, Texas 75216.

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 1          5.      Plaintiff is a “consumer” as that term is defined by 15 U.S.C. § 1692a(3).
 2          6.      In the alternative, Plaintiff is a person granted a cause of action under the
 3
     FDCPA. See §1692(k)(a) and Wenrich v. Cole, 2000 U.S. Dist. LEXIS 18687 (E.D. Pa. Dec.
 4
     22, 2000).
 5
            7.      Defendant is a “debt collector” as that term is defined by 15 U.S.C. §1692 a(6),
 6
     and sought to collect a debt from Plaintiff.
 7
            8.      Defendant is a corporation with its principal place of business located at 3 City
 8
     Place Drive, Suite 6900, St. Louis, MO 63141
 9
            9.      At all relevant times, Defendant acted as a “debt collector” within the meaning of
10

11   15 U.S.C. § 1692(a)(6), and attempted to collect a “debt” as defined by 15 U.S.C. § 1692(a)(5).

12          10.     Defendant acted through its agents, employees, officers, members, directors,

13   heirs, successors, assigns, principals, trustees, sureties, subrogees, representatives, and insurers.

14

15                                      FACTUAL ALLEGATIONS
16
            11.     Upon information and belief, Defendant was attempting to collect a consumer
17
     debt and contacted Plaintiff in its attempts to collect that debt.
18
            12.     Upon information and belief, Plaintiff never incurred any debt in connection with
19
     a business or commercial activities, and therefore the debt, if truly an obligation owed by her,
20
     could only have arisen from a financial obligation primarily for personal, family, or household
21
     purposes.
22

23
            13.     Between September 2015 and October 2015, Defendant’s collectors repeatedly

24   and continuously placed calls to Plaintiff’s cellular telephone number seeking to collect a debt

25   from an unknown third party named Harriet.

            14.     Plaintiff received collection calls from telephone numbers including, but not
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 1   limited to (888) 930-4297. The undersigned has confirmed the number as belonging to
 2   Defendant.
 3
            15.     Plaintiff told Defendant they were calling the wrong number and to stop calling.
 4
            16.     However, Defendant continued to call Plaintiff.
 5
            17.     Once Defendant was informed that its calls were unwanted and to stop calling,
 6
     there was no purpose for placing further calls, other than to harass Plaintiff.
 7
            18.     After Plaintiff’s request to stop the calls was ignored by Defendant, she had no
 8
     other option but to install a blocking application to block calls from their phone number.
 9

10

11                                   COUNT I
                    DEFENDANT VIOLATED §§1692d and d(5) OF THE FDCPA
12
            19.     Section 1692d of the FDCPA prohibits debt collectors from engaging in any
13

14   conduct the natural consequence of which is to harass, oppress, or abuse any person in

15   connection with the collection of a debt.

16          20.     Section 1692d(5) of the FDCPA prohibits debt collectors from causing the

17   telephone to ring or engaging any person in telephone conversation repeatedly with intent to
18   annoy, abuse or harass.
19
            21.     Defendant violated §§1692d and d(5) when it called Plaintiff repeatedly
20
     attempting to collect a debt, and continued to call after being told to stop calling.
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 1                                      PRAYER FOR RELIEF
 2            WHEREFORE, Plaintiff, AKEEMA LADD, respectfully prays for a judgment as
 3
     follows:
 4
                    a. All actual damages suffered pursuant to 15 U.S.C. § 1692k(a)(1);
 5
                    b. Statutory damages of $1,000.00 for each Plaintiff for the violation of the
 6
                       FDCPA pursuant to 15 U.S.C. § 1692k(a)(2)(A);
 7
                    c. All reasonable attorneys’ fees, witness fees, court costs and other litigation
 8
                       costs incurred by Plaintiff pursuant to 15 U.S.C. § 1693k(a)(3); and
 9
                    d. Any other relief deemed appropriate by this Honorable Court.
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11

12                                  DEMAND FOR JURY TRIAL

13            PLEASE TAKE NOTICE that Plaintiff, AKEEMA LADD, demands a jury trial in this

14   case.

15

16     DATED: 9/1/2016                          KIMMEL & SILVERMAN, P.C.

17                                              By: /s/Amy L. B. Ginsburg
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